              IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION


TSADDIQ NDESHA CHEW,

     Petitioner,

V.                                            CASE NO. CV420-142
                                                           CR415-182
UNITED STATES OF AMERICA,

     Respondent.


                                  ORDER


     Before   the    Court   is   the   Magistrate   Judge's    Report   and

Recommendation (Doc. 2), to which Petitioner has filed objections

(Doc. 7).i After a careful review of the record,2 Petitioner's

objections are OVERRULED, and the report and recommendation (Doc.

2) is ADOPTED as the Court's opinion in this case. As a result.

Petitioner's Motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence (Doc. 1) is DENIED.

     The Magistrate Judge recommended that Petitioner's motion be

denied because a Rehaif v. United States,            U.S       ,, 139 S. Ct.




1 Unless otherwise stated, all citations are to Petitioner's civil
docket on this Court's electronic filing system, CV420-142.
2 The Court reviews de novo a magistrate judge's findings to which
a party objects, and the Court reviews for clear error the portions
of a report and recommendation to which a party does not object.
28 U.S.C. § 636(b)(1); see Merchant v. Nationwide Recovery Serv.,
Inc., 440 F. Supp. 3d 1369, 1371 (N.D. Ga. 2020) (outlining the
standard of review for report and recommendations (citing Macort
V. Prem, Inc., 208 F. App'x 781, 784 (11th Cir. 2006) (per
curiam))).
2191, 204 L. Ed. 2d 594 (2019), error is non-jurisdictional and

his guilty plea waived all non-jurisdictional defects. (Doc. 2 at

6 (citing Marks v. United States, 834 F. App'x 568, 569 (11th Cir.

2021) (per curiam)).) Citing the Supreme Court's opinion in Jones

V. Mississippi,          U.S.         , 141 S. Ct. 1307, 209 L. Ed. 2d 390

(2021), Petitioner's objection asserts a wholly novel argument

concerning his prior convictions as a juvenile. (Doc. 7 at 2.)

Petitioner     argues   that    two    of   the   charges    used   as   predicate

offenses in his case occurred while he was a minor, and this Court

should find that ''youth matters in sentencing." (Doc. 7 at 2.)

       First, the Court is not required to consider arguments raised

for the first time in a petitioner's objections to a magistrate

judge's report and recommendation. See Williams v. McNeil, 557

F.3d   1287,     1292   (11th   Cir.     2009)    ("[A]     district     court   has

discretion to decline to consider a party's argument when that

argument   was    not first     presented to the magistrate judge.").

Second, Petitioner's new argument is too vague and conclusory to

entitle him to relief under § 2255. See Killen v. United States,

No. 21-10888-E, 2021 WL 7159181, at *5 (11th Cir. Sept. 8, 2021)

("Conclusory     claims,   unsupported       by facts     or   argument,    cannot

entitle a movant to § 225'5 relief." (citing Tejada v. Duqger, 941

F.2d 1551, 1559 (11th Cir. 1991)). Finally, the Court is unable to

discern any basis for concluding that Jones called into question

reliance on juvenile convictions as predicate offenses. In Jones,
the Supreme Court held only that "the Eighth Amendment does not

require a finding that a minor be permanently incorrigible as a

prerequisite to a sentence of life without parole." 141 S. Ct. at

1323 (Thomas, J., concurring). The liberal construction afforded

to pro se pleadings simply does not permit the Court to conjure an

argument, even supposing one could be conjured, from Petitioner's

objection. See Ware v. City of Atlanta, 861 F. App'x 791, 797-98

(11th Cir, 2021) ("Although we liberally construe pro se briefs

. . . , a court may not serve as de facto counsel for a party or

rewrite a brief in order to preserve a claim." (internal quotation

marks and citation omitted)).

     For the foregoing reasons. Petitioner's objections (Doc. 7)

are OVERRULED, and the report and recommendation (Doc. 2) is

ADOPTED as the Court's opinion. As a result. Petitioner's motion

(Doc. 1) is DENIED. This action is DISMISSED, and the Clerk of

Court is DIRECTED to close the case.


     Applying the Certificate of Appealability (COA) standards set

forth in Brown v. United States, Nos. 407CV085, 403CR001, 2009 WL

307872, at *1-2 (S.D. Ga. Feb. 9, 2009), the Court discerns no
COA-worthy issues at this stage of the litigation, so no COA should

issue. 28 U.S.C. § 2253(c)(1); Rule 11(a) of the Rules Governing

Section 2255 Proceedings for the United States District Courts

("The   district   court       must   issue    or     deny   a   certificate    of

appealability    when   it     enters   a     final    order     adverse   to   the

applicant.") •

     so ORDERED this       ^      day of November 2022.


                                      WILLIAM T. MOORE,^R.
                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF GEORGIA
